Exhibit

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AFFIDAVIT
OF
COREY LEA

I, Corey Lea, under the penalty of perjury, attest that all the documents for exhibits are
true and correct. In addition, all the undisputed facts are within my knowledge and believe to be
true and correct. I further attest to the following facts.

1. My name is Corey Lea and I own real estate in Rutherford County, Tennessee.

2. I applied for farm ownership, farm operating and grants for real estate to be purchased
and or continued agricultural businesses in Rutherford County, Tennessee.

3. Iam liable for debts for dissolved Kentucky Corporation, Corey Lea Inc.

4. Ihave not received direct payments for pandemic assistance provided by Congress under
section 22006 of the Inflation Reduction Act.

5. Ihave lived within the jurisdiction of this Court since July of 1014 and if the Federal
Defendants would have resolved my discrimination complaints, I would have been
eligible for federal assistance since 2009.

6. Ihave attempted to file formal requests for hearing before the Administrative Law Judge
at least 3 times and was refused docketing by the ALJ to contest alleged debts that have

now subject to administrative garnishments.
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Date and Seal

COMMISSION EXPIRES:

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